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                              UNITED STATES DISTRIC COURT
                              DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA )
                               )
            v.                 )
                               )
RAFAEL CARDONA, SR.            )              Criminal No. 17-cr-30022-TSH
                               )
      Defendant               )
                               )
______________________________


                                      ORDER ON APPEAL

                                        September 24, 2019


                                            Introduction

   The Defendant Rafael Cardona, Sr. (“Cardona, Sr.”) and others have been charged in a

narcotics distribution conspiracy. The Defendant is charged in Counts I and II of the

Superseding Indictment with conspiracy to distribute and possess with intent to distribute heroin,

and conspiracy to distribute and possess with intent to distribute cocaine. A detention hearing

was held before Magistrate Judge Robertson on May 28, 2018. On May 30, 2018 she issued an

order detaining Mr. Cardona Sr. after finding that there was a rebuttable presumption that no

condition or combination of conditions would reasonably assure Mr. Cardona Sr.’s appearance,

and that the safety of the community was compromised.

   In support of her finding that Mr. Cardona, Sr., was a risk to the community, she cited prior

convictions for possession with intent to distribute narcotics; that he has a history of violence;

and a prior involvement with firearms. Mr. Cardona, Sr. has prior convictions for assault and

battery on a police officer, assault with a dangerous weapon, and assault and battery to collect a
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debt. In 2000, he was convicted in federal court for transferring a firearm to a convicted felon.

At Mr. Cardona Sr.’s detention hearing before Judge Robertson the government put into

evidence telephone intercepts from which the court inferred that in 2016 the defendant was

directly involved in supplying a gun to David Cruz, also a co-conspirator, and co-defendant in

this case.

                                       Discussion

   I find that the evidence against the Defendant is strong and that the government has produced

clear and convincing evidence that the Defendant poses a risk to the community. He has a long

history of drug trafficking convictions, and the evidence is strong that he was importing heroin

from Mexico and cocaine from Puerto Rico. Further, the Defendant was instrumental in

supplying a gun to a co-defendant in this case. The Defendant’s prior convictions are also

significant. He was convicted in 2000 for transferring an AK-47 to a known felon and sentenced

to 108 months in prison.

   The Defendant’s brother has offered to pledge his residence as security for the Defendants

appearance at trial. However, the Defendant faces a minimum mandatory sentence of 10 years

which is a significant incentive to flee. Mr. Cardona, Sr. has significant ties to Puerto Rico, has

visited there within a year of his arrest, has siblings and extended family there, has no job,

appears to be estranged from his wife, and he is 60 years old. Accordingly, I find by clear and

convincing evidence that Defendant has failed to rebut the presumption that no conditions would

reasonably assure his appearance or assure safety of the community.

                                       Conclusion

   The Defendant Rafael Cardona, Sr., Motion to Revoke Order of Pre-Trial Detention

(Document # 192) is denied.
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                                 / Timothy S. Hillman
                                 TIMOTHY S. HILLMAN
                                 DISTRICT JUDGE
